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                      UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
                    Criminal No. 13-004(2)(DSD/JSM)

United States of America,

                  Plaintiff,

v.                                                              ORDER

Jose Enrique Mederos-Benitez,

                  Defendant.


     Thomas M. Hollenhorst, United States Attorney’s Office, 300
     South 4th Street, Suite 600, Minneapolis, MN 55415, counsel for
     plaintiff.

     Jose Enrique Mederos-Benitez, #16767-041, FCI-Sandstone, P.O.
     Box 1000, Sandstone, MN 55072, defendant pro se.


     This matter is before the court upon the motion by defendant

Jose Enrique Mederos-Benitez for a sentence reduction pursuant to

18 U.S.C. § 3582(c)(2).        On May 14, 2013, Mederos-Benitez pleaded

guilty to one count of conspiracy to distribute 500 grams or more

of methamphetamine and 500 grams of cocaine, in violation of 21

U.S.C. §§ 841(a)(1), (b)(1)(A), and 846, and one count of using,

carrying, and possessing a firearm during and in relation to, and

in furtherance of, a drug trafficking crime, in violation of 18

U.S.C. § 924(c)(1)(A).         The court sentenced Mederos-Benitez on

August 28, 2013, to the mandatory minimum term of imprisonment of

120 months on Count 1 and 60 consecutive months on Count 6.

Mederos-Benitez now moves for a reduction in his total sentence

pursuant   to    Amendment   782   of   the    United    States     Sentencing

Guidelines.     The government opposes the motion on the ground that
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the   statutory     mandatory     minimum     precludes    application      of    the

amendment in this case.          The court agrees.

      The   court    may    modify    a   term    of   imprisonment      when     the

Sentencing Commission subsequently lowers a sentencing range.                     18

U.S.C. § 3582(c).      In 2014, the Sentencing Commission promulgated

Amendment 782, which retroactively reduces the base offense level

for many drug offenses by two levels.                  See U.S.S.G. §§ 1B1.10,

2D1.1(c); id. app. C, amend. 782.             The two-level reduction is not

applicable, however, where, as in this case, the sentence was

imposed     pursuant   to    a   statutory       mandatory    minimum     term    of

imprisonment.       See U.S.S.G. § 1B1.10, Application Note 1(A) (“[A]

reduction in the defendant’s term of imprisonment is not authorized

under 18 U.S.C. § 3582(c)(2) ... if ... the amendment does not have

the effect of lowering the defendant’s applicable guideline range

because of the operation of ... a statutory mandatory minimum term

of imprisonment[.]”); see also id. § 5G1.1(b) (“Where a statutorily

required minimum sentence is greater than the maximum of the

applicable    guideline      range,   the     statutorily     required     minimum

sentence shall be the guideline sentence.”); United States v.

Golden, 709 F.3d 1229, 1233 (8th Cir. 2013) (rejecting application

of a similar amendment under § 3582(c) because “the existence of a

statutory minimum always imposes a boundary on the bottom of an

offender’s guideline range”).




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     Accordingly, based on the above, IT IS HEREBY ORDERED that the

motion for sentence reduction pursuant to 18 U.S.C. § 3582(c) [ECF

No. 149] is denied.



Dated:   March 4, 2016


                                       s/David S. Doty
                                       David S. Doty, Judge
                                       United States District Court




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